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8                                    UNITED STATES DISTRICT COURT

9                                  EASTERN DISTRICT OF CALIFORNIA
10
11   LAURENCE CLAYTON,                                ) Case No.: 1:16-cv-01241 JLT
                                                      )
12                  Plaintiff,                        ) ORDER CLOSING CASE
                                                      )
13          v.
                                                      ) (Doc. 17 )
14   SYNCHRONY BANK,                                  )
                                                      )
15                  Defendant.                        )
                                                      )
16                                                    )

17                  On February 10, 2017, the plaintiff filed a notice of voluntary dismissal. (Doc. 17)

18   Federal Rules of Civil Procedure Rule 41 provides that “the plaintiff may dismiss an action without a

19   court order by filing: (i) a notice of dismissal before the opposing party serves either an answer or a

20   motion for summary judgment . . .” Fed. R. Civ. P. 41(a)(1)(A). Once such a notice has been filed, an

21   order of the Court is not required to make the dismissal effective. Fed. R. Civ. P. 41(a)(1)(ii); Wilson v.

22   City of San Jose, 111 F.3d 688, 692 (9th Cir. 1997). Accordingly, the Clerk of Court is DIRECTED to

23   close this action in light of the notice of dismissal with prejudice filed and properly signed pursuant to

24   Rule 41(a).

25
26   IT IS SO ORDERED.

27      Dated:     February 15, 2017                            /s/ Jennifer L. Thurston
28                                                      UNITED STATES MAGISTRATE JUDGE
